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UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION

FEDERAL TRADE COMMISSION,

Plaintiff,
Case No. 1:14-cv-1239

V,
Judge Milton I. Shadur

CPATANK, INC., an Illinois corporation,

VITO GLAZERS, individually and as an officer
of CPATank, Inc..,

EAGLE WEB ASSETS, INC., an Illinois
Corporation, and

RYAN EAGLE, individually and as an officer of
Eagle Web Assets, Inc.,

Defendants.

Meh Ne ee ee ee ee ee ee ee ee ee

(PROPOSE, STIPULATED ORDER EXTENDING TEMPORARY RESTRAINING
ORDER CONTAINING ASSET FREEZE AND LIMITED EXPEDITED DISCOVERY,
AND ORDER TO SHOW CAUSE WHY A PRELIMINARY INJUNCTION SHOULD
NOT ISSUE

Plaintiff the Federal Trade Commission (“FTC” or “Commission”), pursuant to Section

13(b) of the FTC Act, 15 U.S.C. § 53(b), and the Stipulated Final Judgment and Order for

Permanent Injunction and Other Equitable Relief (“Stipulated Judgment”) in this matter, see Dkt.

8, moved this Court for the entry of an ex parte Temporary Restraining Order Containing Asset
Freeze and Limited Expedited Discovery, and Order to Show Cause Why A Preliminary
Injunction Should Not Issue (“TRO”) under Rule 65(b) of the Federal Rules of Civil Procedure.

This Court granted the TRO on October 14, 2016 and ordered it to expire on October 28, 2016 at

bY
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9:45 AM Central Daylight Time. The FTC and Defendant Glazers now move this Court to
extend the TRO until November 3. 2016 at 5:00 PM Central Daylight Time.

I, FINDINGS OF FACT

This Court, having considered the FTC’s motion finds that:
l. This Court has jurisdiction over the subject matter of this case, and there is good

cause to believe it will have jurisdiction over all parties hereto;

2. There is good cause to believe that venue lies properly with this Court;
7 There is good cause to extend the TRO until the show cause hearing on November
3, 2016:
4. There is good cause to believe that immediate and irreparable damage to the

Court’s ability to grant effective final relief provided for in the Stipulated Judgment will occur
from the transfer, dissipation, or concealment by Glazers of his assets unless Glazers continues to
be restrained and enjoined by Order of this Court;

5. Good cause exists for permitting the FTC to take limited expedited discovery
from Glazers and third parties as to the existence and location of assets;

6. Weighing the equities and considering the FTC's likelihood of ultimate success, a
temporary restraining order with an asset freeze, limited expedited discovery as to the existence
and location of assets, and other equitable relief is in the public interest; and

7. No security is required of any agency of the United States for the issuance of a
temporary restraining order. Fed. R. Civ. P. 65(c).

Il. DEFINITIONS

For the purposes of this Temporary Restraining Order, the following definitions apply:
A. “Assets” means any legal or equitable interest in, right to, or claim to, any and all

real and personal property of Defendant Vito Glazers, or held for the benefit of Defendant
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Glazers, wherever located, whether in the United States or abroad, including but not limited to
chattel, goods, instruments, equipment, fixtures, general intangibles, effects, leaseholds,
contracts. mail or other deliveries, inventory, checks, notes, accounts, credits, receivables (as
those terms are defined in the Uniform Commercial Code), shares of stock, futures, all cash or
currency, and trusts, including but not limited to a trust held for the benefit of Defendant Glazers,
any of Defendant Glazers’s minor children, or Defendant Glazers’s spouse, and shall include
both existing assets and assets acquired after the date of entry of this order, or any interest
therein.

B. “Document” is synonymous in meaning and equal in scope to the terms
“document” and “electronically stored information.” as described and used in Federal Rule of
Civil Procedure 34(a)(1)(A).

: “Financial Institution” means any bank, savings and loan institution, credit
union, or any financial depository of any kind, including but not limited to, any brokerage house,
trustee, broker-dealer, escrow agent, title company, commodity trading company, or precious
metal dealer, or other depository of any kind.

D. “Person” means any individual, group, unincorporated association, limited or
general partnership, corporation or other business entity, including but not limited to a Financial
Institution.

Ill. ASSET FREEZE

IT IS THEREFORE ORDERED that Defendant Glazers, and his officers, agents,
servants, employees, and attorneys, and all other Persons or entities directly or indirectly under
the control of him, including any Financial Institution, and all other Persons or entities in active
concert or participation with him who receive actual notice of this Order are hereby temporarily

restrained and enjoined from directly or indirectly:
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A. Transferring, liquidating, converting, encumbering, pledging. loaning, selling,
concealing, dissipating, disbursing, assigning, spending. withdrawing, granting a lien or security
interest or other interest in, or otherwise disposing of any Assets, or any interest therein,
wherever located. including outside the United States, that are:

l. owned or controlled, directly or indirectly, by Defendant Glazers, in whole
or in part, or held, in whole or in part, for the benefit of Defendant Glazers;

oe in the actual or constructive possession of Defendant Glazers:

3. owned, controlled by, or in the actual or constructive possession of any
corporation, partnership, or other entity directly or indirectly owned, managed, or
controlled by Defendant Glazers, including, but not limited to, any Assets of Solomon
Assets, LLC, or any other entity acting under a fictitious name owned by or controlled by
Defendant Glazers, and any Assets held by, for, or under the name of Defendant Glazers
at any Financial Institution:

B. Opening or causing to be opened any safe deposit boxes either titled in the name.
individually or jointly, or subject to access by Defendant Glazers:

C. Incurring charges or cash advances on any credit card, debit card, or checking
card issued in the name, singly or jointly, of Defendant Glazers;

D. Obtaining a personal or secured loan, individually or jointly;

E. Incurring liens or encumbrances on real property, personal property or other
Assets in the name, singly or jointly, of Defendant Glazers; and

F. Cashing any checks or depositing any money orders or cash received from

consumers, clients, or customers of Defendant Glazers.
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The Assets affected by this Section shall include: (1) all Assets of Defendant Glazers as
of the time this Order is entered: and (2) for Assets obtained after the time this Order is entered.
This Section does not prohibit the repatriation of foreign Assets.

IV. COMPLETION OF FINANCIAL DISCLOSURE FORM

IT IS FURTHER ORDERED that within seven (7) days of the entry of this Order,
Defendant Glazers shall submit a truthful, accurate, and complete FTC Financial Disclosure of
Individual Defendant, a blank version of which is attached hereto as Exhibit 1, to the FTC.

V. RETENTION OF ASSETS AND PRODUCTION OF DOCUMENTS BY THIRD
PARTIES

IT IS FURTHER ORDERED that, pending determination of the FTC's request for a
preliminary injunction, any Financial Institution, electronic data host, or Person served with a
copy of this Order that holds, controls, or maintains custody of any account, document,
electronically stored information, or asset of, on behalf of, in the name of, for the benefit of,
subject to withdrawal by, subject to access or use by, or under the signatory power of Defendant
Glazers, or other party subject to Section III above, or has held, controlled, or maintained any
such account, document, electronically stored information, or asset, shall:

A. Hold, preserve, and retain within such Person’s control, and prohibit the
withdrawal, removal, alteration, assignment, transfer, pledge, hypothecation, encumbrance,
disbursement. dissipation, conversion, sale, liquidation, or other disposal of such account,
document, electronically stored information, or asset held by or under such Person’s control,
except as directed by further order of the Court:

B. Provide the FTC and the FTC’s agents immediate access to electronically stored
information stored, hosted, or otherwise maintained on behalf of Defendant Glazers for forensic

imaging;

Lf
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Cc. Deny access to any safe deposit boxes that are either titled in the name,
individually or jointly, or subject to access by Defendant Glazers, or other party subject to
Section II] above: and

D. Provide to the FTC, within one (1) business day, a sworn statement setting forth:

1, the identification of each account or asset titled in the name, individually
or jointly, or held on behalf of or for the benefit of, subject to withdrawal by, subject to
access or use by, or under the signatory power of any Defendant Glazers, or other party
subject to Section II] above. whether in whole or in part:

2. the balance of each such account, or a description of the nature and value
of such asset, as of the close of business on the day on which this Order is served;

3. the identification of any safe deposit box that is either titled in the name
of, individually or jointly, or is otherwise subject to access or control by, Defendant
Glazers, or other party subject to Section II] above. whether in whole or in part; and

4, if the account, safe deposit box, or other asset has been closed or removed,
the date closed or removed, the balance on said date, and the name or the Person to whom
such account or other asset was remitted;

5. Provide counsel for the FTC, within three (3) business days after being
served with a request, copies of all documents pertaining to such account or asset,
including but not limited to: account statements, account applications, signature cards,
checks, deposit tickets, transfers to and from the accounts, wire transfers, all other debit
and credit instruments or slips, 1099 forms, and safe deposit box logs; and

6. Cooperate with all reasonable requests of the FTC relating to this Order’s

implementation.
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IT IS FURTHER ORDERED that the accounts subject to this Order include all assets
of Defendant Glazers deposited as of the time this Order is entered.

IT IS FURTHER ORDERED that, in addition to the information and documents
required to be produced pursuant to this Order, the FTC is granted leave, pursuant to Fed. R. Civ.
P. 45, to subpoena documents immediately from any Financial Institution, electronic data host,
or other Person served with a copy of this Order that holds, controls, or maintains custody of any
account, document, electronically stored information, or asset of, on behalf of. in the name of,
for the benefit of, subject to withdrawal by, subject to access or use by, or under the signatory
power of Defendant Glazers, or other party subject to Section III above, or has held, controlled,
or maintained any such account, document, electronically stored information, or asset, and such
Financial Institution, electronic data host or Person shall respond to such subpoena within three
(3) business days after service. The FTC may effect service by electronic mail.

VI. CONSUMER CREDIT REPORTS

IT IS FURTHER ORDERED that the FTC may obtain credit reports concerning Defendant
Glazers pursuant to Section 604(a)(1) of the Fair Credit Reporting Act, 15 U.S.C. § 1681b(a)(1), and
that, upon written request, any credit reporting agency from which such reports are requested shall
provide them to the FTC.

VU. ACKNOWLEDGMENT OF RECEIPT OF ORDER BY DEFENDANT

IT IS FURTHER ORDERED that Defendant Glazers, within three (3) business days of
receipt of this Order, must submit to counsel for the FTC a truthful sworn statement
acknowledging receipt of this Order.

Vill. CORRESPONDENCE WITH PLAINTIFF

IT IS FURTHER ORDERED that, for the purposes of this Order, because mail

addressed to the FTC is subject to delay due to heightened security screening, all correspondence
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and service of pleadings on Plaintiff shall be sent via electronic submission and Federal Express
to:

Colin D. A. MacDonald

Federal Trade Commission

600 Pennsylvania Ave., NW, Mail Drop CC-9528
Washington, DC 20580

Telephone: (202) 326-3192

Fax: (202) 326-3197

Email: cmacdonald@ftc.gov

IX. SERVICE OF THIS ORDER

IT IS FURTHER ORDERED that copies of this Order may be served by facsimile,
email, hand-delivery, personal or overnight delivery, or U.S. Mail, by agents and employees of
the FTC or any state or federal law enforcement agency or by private process server, upon any
Financial Institution or other entity or Person that may have possession, custody, or control of
any documents or assets of Defendant Glazers, or that may otherwise be subject to any provision
of this Order. Service upon any branch or office of any Financial Institution shall effect service
upon the entire Financial Institution.

X. PRELIMINARY INJUNCTION HEARING

IT IS ORDERED, pursuant to Fed. R. Civ. P. 65(b), that Defendant Glazers shall appear
before this Court on the 3rd day of November, 2016, at 9:00 o’clock a.m.., at the United States
District Courthouse, Courtroom 2303, Chicago, Illinois, to show cause, if there is any, why this
Court should not enter a preliminary injunction enjoining the violations of law alleged in the
FTC’s Complaint, continuing the freeze of their assets, and imposing such additional relief as
may be appropriate.

IT IS FURTHER ORDERED that Defendant Glazers shall file with the Court and serve
on the FTC’s counsel any answering pleadings, affidavits, motions, expert reports, declarations,

witness lists with detailed summaries of expected witness testimony. and/or legal memoranda, no
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later than five days prior to the hearing. The FTC may file responsive or supplemental
pleadings, materials, affidavits, witness lists with detailed summaries of expected witness
testimony, and/or memoranda with the Court and serve them on Defendant Glazers’s counsel no
later than two days prior to that hearing. Such affidavits, pleadings, motions, expert reports,
declarations, witness lists with detailed summaries of expected witness testimony, legal
memoranda and/or oppositions must be served by electronic mail (or Federal Express, if
electronic mail is impractical), and must be received by the other party no later than the
deadlines set forth in this Section.

XI, DURATION OF ORDER

IT IS FURTHER ORDERED that the Temporary Restraining Order granted herein
shall expire on the 3rd day of November, 2016, at 5:00 o’clock p.m., unless within such time the
Order, for good cause shown, is extended for an additional period not to exceed fourteen (14)
calendar days, or unless it is further extended pursuant to Federal Rule of Civil Procedure 65.

XII. RETENTION OF JURISDICTION

IT IS FURTHER ORDERED that this Court shall retain jurisdiction of this matter for

all purposes of construction, modification, and enforcement of this Order.

IT ISSO ORDERED. this 2/ day of October, 2016, at_ 4%: 3OAM/FH, Central

Daylight Time.

Dated: Ortoger 2', 20/6 ei, eee

MILTON I. SHADUR
UNITED STATES DISTRICT JUDGE

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BACKGROUND INFORMATION

Item 1. Information About You

Full Name Social Security No.
Current Address of Primary Residence Driver's License No. State Issued
Phone Numbers Date of Birth: pe
Home:( —} (mmidd/yyyy)
Fax: ( ) Place of Birth
(rent (Jown From (Date): / / E-Mail Address
{mm/dd/yyyy)
iIntemet Home Page
Previous Addresses for past five years (if required, use additional pages at end of form)
Address From: fff Unt sf ff
(mmiddlyyyy) (mmidd/yyyy)
CRent Clown
Address From: J f/f Unt: of f/f
CJRent [JOwn
Address From: / ff Unt: / ff
Orent Clown
Identify any other name(s) and/or social security number(s) you have used, and the time period(s) during which they
were used:
Item 2. Information About Your Spouse or Live-In Companion
Spouse/Companion's Name Social Security No. Date of Birth
i off
(mmiddfyyyy)
Address (if different from yours) Phone Number Place of Birth
{-*)
LiRent [Llown From (Date): /
(mmiddiyyyy)
Identify any other name(s) and/or social security number(s) you have used, and the time pericd(s) during which they were used:
Employer's Name and Address Job Title
Years in Present Job | Annual Gross Salary/Wages
$
Item 3. Information About Your Previous Spouse
Name and Address Social Security No,
Date of Birth
fof
(mmiddlyyyy)
Item 4. Contact Information (name and address of closest living relative other than your spouse)
Name and Address | Phone Number
t)
Initials:

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Item 6. Information About Dependents (wnether or not they reside with you)

Name and Address Social Security No. Date of Birth
ee
(mmiddiyyyy)
Relationship
Name and Address Social Security No. Date of Birth
> if
(mmicdiyyyy)
Relationship
Name and Address Social Security No. ose of oan
| (mmiddiyyyy)
Relationship
Name and Address Social Security No. s of a
(mnviddlyyyy)
Relationship

Item 6. Employment Information/Employment Income

Provide the following information for this year-to-date and for each of the previous five full years, for each business entity of which you were a director,
officer, member, partner, employee (including self-employment), agent, owner, shareholder, contractor, participant or consultant at any time during that
penod, “Income” includes, but is not limited to, any salary, commissions, distnbutions, draws, consulting fees, loans, loan payments, dividends,
royalties, and benefits for which you did not pay (e.9., health insurance premiums, automobile lease or loan payments) received by you or anyone else

on your behalf

Company Name and Address Dates Employed Income Received: Y-T-D & 5 Prior Yrs.
Year Income
From (Month/Year) To (Month/Year)
f / 20 $
Ownership Interest? L) Yes J No $
Positions Held From (Month/Year) To (Month/Year) $
f I $
i i $
7 | i $
Company Name and Address Dates Employed Income Received: Y-T-D & 5 Prior Yrs.
Year Income
From (Month/Year) To (Month/Year)
t i 20 $
Ownership Interest? (1) Yes (] No $
Positions Held From (Month/Year) To (Month/Year) §
/ ! $
/ / $
i 7 $
Company Name and Address Dates Employed Income Received: Y-T-D & 5 Prior Yrs.
Year Income
From (Month/Year) To (Month/Year)
if t 20 5
Ownership Interest? [] Yes No $
Positions Held From (Month/Year) To (Month/Year) $
/ i $
i f S
/ / 5
Initials:

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Item 7. Pending Lawsuits Filed By or Against You or Your Spouse

List all pending lawsuits that have been filed by or against you or your spouse in any court or before an administrative agency in the United States or in
any foreign country or tertory. Note: At item 12, list lawsurts that resulted in final judgments or settlements in your favor At Item 21, list lawsuits that
resulted in final judgments or settiements against you.

Nature of Status or

fie :
Caption of Proceeding Court or Agency and Location Case No, Proceeding Relief Requested Disposition

Item 8. Safe Deposit Boxes
List all safe deposit boxes, located within the United States or in any foreign country or terntory, whelher held individually or jointly and whether held by
you, your spouse, or any of your dependents, or held by others for the benefit of you, your spouse, or any of your dependents.

Name of Owner(s) Name & Address of Depository Institution Box No Contents

Initials:

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FINANCIAL INFORMATION
REMINDER: When an item asks for information regarding your “assets” and “liabilities” include ALL assets and liabilities, located within
the United States or in any foreign country or territory, or institution, whether held individually or jointly, and whether held by you, your
spouse, or any of your dependents, or held by others for the benefit of you, your spouse. or any of your dependents. In addition, provide
ail documents requested in Item 24 with your completed Financial Statement.

ASSETS

Item 9. Cash, Bank, and Money Market Accounts

Ust cash on hand (as opposed to cash in bank accounts or other financial accounts) and all bank accounts, money market accounts, or other financial
accounts, including but not limited to checking accounts, savings accounts, and certificates of deposil. The term “cash on hand” inciudes but is not
limited to cash in the form of currency, uncashed checks, and money orders

Item 10. Publicly Traded Securities
List all publicly traded securities, including but not limited to, stocks, stock options, corporate bonds, mutual funds, U.S. government securities (including
but not limited to treasury bills and treasury notes), and state and municipal bonds. Also list any U.S. savings bonds

a. Amount of Cash on Hand $ Form of Cash on Hand
b. Name on Account Name & Address of Financial Institution Account No. Current Balance
$
$
§
5
;

Owner of Security Issuer Type of Security No. of Units Owned
Broker House, Address Broker Account No.
Current Fair Market Value Lean(s) Against Security
$ $
Owner of Security Issuer Type of Security No. of Units Owned
2 Broker House, Address Broker Account No,
Current Fair Market Value Loan(s) Against Secunty
$ $
2 Owner of Security Issuer Type of Security No. of Units Owned
Broker House, Address Broker Account No.
Current Fair Market Value Loan(s) Against Security
$ $
Initials:

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Item 11. Non-Public Business and Financial Interests

List all non-public business and financial interests, Including but not limited to any interest in a non-public corporation, subchapter-S corporation, limited
liability corporation ("LLC"), general or limited partnership, joint venture, sole propnetorship, international business corporation or personal investment

corporation, and oil or mineral lease.

Entity’s Name & Address

Type of Business or Financial Owner

Interest (e.g., LLC, partnership) (e.g., self, spouse) fe

Ownership | If Officer, Director, Member
or Partner, Exact Title

Item 12. Amounts Owed to You, Your Spouse, or Your Dependents

Debtor's Name & Address

Date Obligation Original Amount Owed
Incurred (Month/Year) | ¢
i

Current Amount Owed | Payment Schedule
$ $

Debtor's Telephone

Debtor's Relationship to You

Nature of Obligation (if the result of a final court
judgment or settlement, provide court name
and docket number)

Debtor's Name & Address

Date Obligation
Incurred (Month/Year)
i

Original Amount Owed
5

Nature of Obligation (if the result of a final court

“Current Amount Owed

$

Payment Schedule
5

Debtor's Telephone

Debtor's Relationship to You

judgment or settlement, provide court name

and docket number)

Item 13. Life Insurance Policies

List all fe insurance polices (including endowment policies) with any cash surrender value

Insurance Company's Narne, Address, & Telephone No. Beneficiary Policy No. Face Value
$
Insured Loans Against Policy | Surrender Value
$ 5
Insurance Company's Name, Address, & Telephone No. Beneficiary Policy No. Face Value
$
Insured Loans Against Policy | Surrender Value
§ $

Item 14. Deferred Income Arrangements

List all deferred income arrangements, including but not limited to, deferred annuities, pensions plans, profit-shanng plans, 401(k) plans, IRAs, Keoghs,

other retirement accounts, and college savings plans (e.g., 529 Plans)

Trustee or Administrator's Name, Address & Telephone No. Name on Account Account No.
Date Established Type of Plan Surrender Value before
fe ot Taxes and Penalties
(mmiddiyyyy) $
Trustee or Administrator's Name, Address & Telephone No. Name on Account Account No.
Date Established Type of Plan Surrender Value before
Healt Taxes and Penalties
$

Initials:

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Item 15. Pending Insurance Payments or Inheritances

List any pending insurance payments or inheritances owed to you.

Type Amount Expected Date Expected (mmiddfyyyy)
s fF
fof
$ fa ik

Item 16. Vehicles

List all cars, trucks, motorcycles, boats, airplanes, and other vehicles

Vehicle Type Year Registered Owner's Name Purchase Price Original Loan Amount | Current Balance
$ $ $
Make Registration State & No. Account/Loan No. Current Value Monthly Payment
$ $
Model Address of Vehicle's Location Lender's Name and Address

Vehicle Type | Year Registered Owner's Name Purchase Price Original Loan Amount | Current Balance
$ $ $
Make Registration State & No. Account/Loan No. Current Value Monthly Payment
$ $
Model Address of Vehicle's Location Lender's Name and Address

Vehicle Type | Year Registered Owner's Name Purchase Price Original Loan Amount Current Balance
$ § $
Make Registration State & No. Account/Loan No. Current Value Monthly Payment
$ §
Mode! Address of Vehicle's Location Lender's Name and Address

Vehicle Type | Year

Registered Owner's Name

Purchase Price

Original Loan Amount

Current Balance

$ 3 $
Make Registration State & No. Account/Loan No, Current Value Monthly Payment
$ $
Model Address of Vehicle's Location Lender's Name and Address

Item 17. Other Personal Property
List all other personal property not listed in Items 9-16 by category, whether held for personal use, investment or any other reason, including but not
limited to coins, stamps, artwork, gemstones, jewelry, bullion, other collectibles, copyrights, patents, and other intellectual property.

Property Category

Name of Owner

Property Location

Acquisition Cost Current Value

(e.9.. artwork, jewelry)
$ $
$ $
$ $

Initials:

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Item 18. Real Property

List all real property interests (including any land contract)

Property's Location

Type of Property

Name(s) on Title or Contract and Ownership Percentages

Acquisition Date (mm/dd/yyyy)
/ of

Purchase Price

Current Value

$

Basis of Valuation

Lender's Name and Address

Loan or Account No,

Current Balance On First Mortgage or
Contract

$
Monthly Payment
3
Other Mortgage Loan(s) (describe) Monthly Payment (1 Rental Unit
3
Current Balance Monthly Rent Received
$ $

Property's Location

Type of Property

Name(s) on Title or Contract and Ownership Percentages

Acquisition Date (mmidd/yyyy)
io? $

Purchase Price

| Current Value
$

Basis of Valuation

Lender's Name and Address

Loan or Account No.

Current Balance On First Mortgage or
Contract

$
Monthly Payment
s
Other Mortgage Loan(s) (describe) Monthly Payment CO Rental Unit
$
Current Balance Monthly Rent Received
$ $

LIABILITIES

Item 19. Credit Cards

List each credit card account held by you, your spouse, or your dependents, and any other credit cards that you, your spouse, or your dependents use.

whether issued by a United States or foreign financial institution

Name of Credit Card (e.9., Visa,
MasterCard, Department Store)

Account No.

Name(s) on Account

Current Balance

|) ao |

ltem 20. Taxes Payable

List all taxes, such as income taxes or real estate taxes, awed by you, your spouse, or your dependents

Type of Tax

Amount Owed

Year Incurred

$

$

Initials:

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Item 21. Other Amounts Owed by You, Your Spouse, or Your Dependents
List all other amounts, not listed elsewhere in this financial statement, owed by you, your spouse, or your dependents.

Lender/Crediter's Name, Address, and Telephone No, | Nature of Debt (if the result of a court judgment or settlement, provide court name and docket
number)

Lender/Creditor's Relationship to You

ae ee Was tneurted Original Amount Owed Current Amount Qwed Payment Schedule

(mm/ddiyyyy) :

Lender/Creditor's Name, Address, and Telephone No. | Nature of Debt (if the result of a court judgment or settlement, provide court name and docket
number)

Lender/Creditor's Relationship to You

= ees Was Incurred Original Amount Owed Current Amount Owed Payment Schedule
(mmiddlyyyy) 5 $

OTHER FINANCIAL INFORMATION

Item 22. Trusts and Escrows

List ali funds and other assets that are being held in trust or escrow by any person or entity for you. your spouse. or your dependents. Include any legal
tetainers being held on your behalf by legal counsel Also |ist all funds or cther assets that are being held in trust or escrow by you, your spouse, or your
dependents, for any person or entity

Trustee or Escrow Agent's Name & Address ORRENNaNTE).. Grantor Beneficiaries Present Market Value of Assets*
fof $
pret 5
{of $s

“if the market value of any asset is unknown, describe the asset and state its cost, if you know it.

Item 23. Transfers of Assets

List each person or entity to whom you have transferred, in the aggregate, more than £5,000 in funds or other assets during the previous five years by
loan, gift, sale, or other transfer (exclude ordinary and necessary living and business expenses paid to unrelated third parties). For each such person or
entity, state the total amount transferred during that period

: . : Transfer Date Type of Transfer
Transferee's Name, Address, & Relationship Property Transferred Aggregate Value’ (mmidd/yyyy) (e.g., Loan, Gift)
$ FE
$ fof
$ fof
“if the market value of any asset is unknown, describe the asset and stale its cost, if you know it
Initials:

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Item 24. Document Requests
Provide copies of the following doc its with your completed Fi | Statement

Federal tax returns filed during the last three years by or on behalf of you, your spouse, or your dependents.

All applications for bank loans or other extensions of credit (other than credit cards) that you, your spouse, or your
dependents have submitted within the last two years, including by obtaining copies from lenders if necessary.

Item 9 For each bank account listed in Item 9, all account statements for the past 3 years.
For each business entity listed in Item 11, provide (including by causing to be generated from accounting records) the
Item 11 most recent balance sheet, tax return, annual income statement, the most recent year-to-date income statement, and all

general ledger files from account records.

All appraisals that have been prepared for any property listed in Item 17, including appraisals done for insurance

Item 17 purposes. You may exclude any category of property where the total appraised value of all property in that category is
less than $2,000.

Item 18 All appraisals that have been prepared for real property listed in Item 18.

Item 21 Documentation for all debts listed in Item 21.

Item 22 All executed documents for any trust or escrow listed in tem 22. Also provide any appraisals, including insurance
appraisals that have been done for any assets held by any such trust or in any such escrow.

SUMMARY FINANCIAL SCHEDULES
Item 25. Combined Balance Sheet for You, Your Spouse, and Your Dependents

Assets Liabilities
Cash on Hand (Item 9) $ Loans Against Publicly Traded Securities (item 10) $
Funds Held in Financial Institutions (Item 9) $ Vehicles - Liens (item 16) $
U.S. Government Securities (Item 10) $3 Real Property — Encumbrances (Item 18) =
Publicly Traded Securities (item 10) $ Credit Cards (Item 19) $
Non-Public Business and Financial Interests (item 11) | $ Taxes Payable (Item 20) $
Amounts Owed to You (item 12) $ Amounts Owed by You (Item 21) $ =
Life Insurance Policies (Item 13) 5 Other Liabilities (Itemize)
Deferred Income Arrangements (Item 14) $ s
Vehicles (item 16) $ 5
Other Personal Property (Item 17) 5 5
Real Property (Item 18) $ $
Other Assets (Itemize) $
$ $
$s $
$ 3
Total Assets | ¢ Total Liabilities $

Item 26. Combined Current Monthly Income and Expenses for You, Your Spouse, and Your Dependents
Provide the current monthly income and expenses for you, your spouse, and your dependents. Do not include credit card payments separately, rather,
include credit card expenditures in the appropnate categories.

Income (State source of each item) Expenses

Salary - After Taxes Mortgage or Rental Payments for Residence(s)

Source: $ $
Fees, Commissions, and Royalties Property Taxes for Residence(s)

Source: § $
Interest Rental Property Expenses, Including Morigage Payments, Taxes,
Source: $ and Insurance $
Dividends and Capital Gains Car or Other Vehicie Lease or Loan Payments

Source: $ $
Gross Rental Income Food Expenses

Source: $ $
Profits from Sole Proprietorships Clothing Expenses =

Source: $ s
Distributions from Partnerships, S-Corporations, Utilities

and LLCs 5 5
Source:

Initials:

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Item 26, Combined Current Monthly Income and Expenses for You, Your Spouse, and Your Dependents (cont.)

Distributions from Trusts and Estates Medical Expenses, Including Insurance
Source: $ $
Distributions from Deferred Income Arrangements Other Insurance Premiums
Source: § $
Social Security Payments s Other Transportation Expenses $
Alimony/Child Support Received s Other Expenses (|temize)
Gambling Income 5 | $
Other Income (Itemize) og
$ $s
$ $
$ $
Total Income | § Total Expenses 5

ATTACHMENTS

Item 27. Documents Attached to this Financial Statement
List all documents that are being submitted with this financial statement For any item 24 documents thal are not attached, explain why

Item No. Document Relates To Description of Document

| am submitting this financial statement with the understanding that it may affect action by the Federal Trade
Commission or a federal court. | have used my best efforts to obtain the information requested in this statement. The
responses | have provided to the items above are true and contain all the requested facts and information of which | have
notice or knowledge. | have provided all requested documents in my custody, possession, or control. | know of the
penalties for false statements under 18 U.S.C. § 1001, 18 U.S.C. § 1621, and 18 U.S.C. § 1623 (five years imprisonment
and/or fines). | certify under penalty of perjury under the laws of the United States that the foregoing is true and correct.

Executed on:

(Date) Signature

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